 Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 1 of 27




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

SHANNON PEREZ, ET AL.,                          §
                                                §
        Plaintiffs,                             §
                                                §
v.                                              §      Civil Action No. SA-11-CV-360
                                                §
GREG ABBOTT, ET AL.,                            §
                                                §
        Defendants.                             §


                       ORDER ON REQUEST FOR § 3(c) RELIEF

Before Chief District Judge GARCIA, Circuit Judge SMITH, and District Judge RODRIGUEZ

       XAVIER RODRIGUEZ, District Judge:

       On this date, having heard extensive oral argument on May 2, 2019, the Court

considered the Plaintiffs’ request for bail-in relief under Section 3(c) of the Voting Rights Act

(“VRA”). Although the Court’s findings of intentional racial discrimination in violation of the

Fourteenth Amendment with regard to the 2011 plans are sufficient to trigger bail-in, and

although the Court has serious concerns about the State’s past conduct, the various requests for

discretionary relief under § 3(c) are hereby denied.

                                        I. Background

       Section 3(c) of the VRA, entitled “Retention of jurisdiction to prevent commencement

of new devices to deny or abridge the right to vote,” empowers a court, in a proper case, to

impose a preclearance remedy on states. See Jeffers v. Clinton, 740 F. Supp. 585, 587 (E.D.

Ark. 1990), aff’d, 498 U.S. 1019 (1991). Section 3(c) provides:

       If in any proceeding instituted by the Attorney General or an aggrieved person
       under any statute to enforce the voting guarantees of the fourteenth or fifteenth
 Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 2 of 27




        amendment in any State or political subdivision the court finds that violations
        of the fourteenth or fifteenth amendment justifying equitable relief have
        occurred within the territory of such State or political subdivision, the court, in
        addition to such relief as it may grant, shall retain jurisdiction for such period as
        it may deem appropriate and during such period no voting qualification or
        prerequisite to voting or standard, practice, or procedure with respect to voting
        different from that in force or effect at the time the proceeding was commenced
        shall be enforced unless and until the court finds that such qualification,
        prerequisite, standard, practice, or procedure does not have the purpose and will
        not have the effect of denying or abridging the right to vote on account of race
        or color, or in contravention of the voting guarantees set forth in section
        10303(f)(2) of this title: Provided, That such qualification, prerequisite,
        standard, practice, or procedure may be enforced if the qualification,
        prerequisite, standard, practice, or procedure has been submitted by the chief
        legal officer or other appropriate official of such State or subdivision to the
        Attorney General and the Attorney General has not interposed an objection
        within sixty days after such submission, except that neither the court's finding
        nor the Attorney General’s failure to object shall bar a subsequent action to
        enjoin enforcement of such qualification, prerequisite, standard, practice, or
        procedure.

52 U.S.C. § 10302(c).

        Initially, jurisdictions not automatically subject to preclearance via the § 4 coverage

formula were the subject of § 3(c) preclearance “bail-in” proceedings, since § 3(c) was

intended to apply to the “so-called ‘pockets of discrimination’ . . . outside the States and

political subdivisions as to which the prohibitions of section 4(a) [were] in effect.” See H.R.

Rep. No. 89-439 (1965), at 2454. However, “[i]t reaches denials and abridgments of the right

to vote on account of race or color wherever they may occur throughout the United States.” Id.

Since the Supreme Court invalidated the § 4 coverage formula in Shelby County v. Holder,

570 U.S. 529 (2013), at least two federal courts have bailed in cities that were previously

subject to preclearance.1


        1
           Allen v. City of Evergreen, No. 13-0107-CG-M, 2014 WL 12607819 (S.D. Ala. Jan. 13, 2014)(agreed
bail-in order for changes to city council election districts and standards for determining voter eligibility for

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 Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 3 of 27




        Certain Plaintiffs contend that tailored bail-in relief is warranted in this case, while

Defendants and the United States oppose its application.2 MALC and the Texas Latino

Redistricting Task Force (collectively “Task Force Plaintiffs”) contend that a § 3(c) remedy

requiring preclearance of U.S. and Texas House plans until 2030 is appropriate because Texas

committed constitutional violations that § 3(c) is meant to address. Docket no. 1604 at 7.

        The NAACP, LULAC, Perez, Rodriguez, African-American Congresspersons, and

Quesada Plaintiffs (collectively “NAACP Plaintiffs”) move the Court to require Texas to

submit for preclearance any statewide redistricting plans for a period beginning before the next

decennial redistricting cycle and ending no sooner than five years after the entry of the order.

Docket no. 1603. They contend that this Court’s findings of intentional discrimination in the

2011 Congressional and State House plans remain in place and these findings, coupled with

the historical prevalence of discrimination in voting and the “very recent history of

discrimination by the State and its localities intended to undermine the voting power of

minority voters,” justify § 3(c) relief. Docket no. 1603 at 3-5.

        Defendants and the United States raise several arguments against application of § 3(c)

on the facts of this case, and further argue that relief is foreclosed by the Fifth Circuit’s recent

opinion in Veasey v. Abbott, 888 F.3d 792 (5th Cir. 2018).




municipal elections); Patiño v. City of Pasadena, 230 F. Supp. 3d 667, 729 (S.D. Tex. 2017) (requiring Pasadena
to submit future changes to its electoral map and plan for preclearance and retaining jurisdiction until 2023).
         2
           The United States previously supported imposing § 3(c) relief, but asserts that “the governing law and
the circumstances of this case have changed.” Docket no. 1613 at 2.

                                                       3
 Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 4 of 27




                            II. Preliminary Challenges and Issues

   A. Ripeness and Mootness Challenges to Bail-In Relief

       Defendants first assert ripeness and mootness challenges to the 2011 plan claims as a

basis for arguing that Plaintiffs cannot get bail-in relief. The Court rejects those arguments.

Although this Court was unable to decide the full merits of the § 2 and constitutional claims in

2012 while the preclearance proceedings were pending, Plaintiffs were “aggrieved persons”

under the VRA and their claims were ripe. If not, this Court would not have been instructed to

order interim relief on those claims by the Supreme Court in Perry v. Perez, 565 U.S. 388

(2012). The Supreme Court held that this Court should examine Plaintiffs’ § 2 and

constitutional claims under a preliminary-injunction type standard and take care not to

implement an unconstitutional interim plan. Thus, Plaintiffs’ claims had to be resolved at least

preliminarily and were ripe for consideration.

       Nor does the fact that the 2011 plans never went into effect and were repealed by the

Legislature in 2013 when the new plans were enacted render the intentional vote dilution

claims and the request for bail-in relief moot, as this Court has already decided. See, e.g.,

docket no. 1390 at 6. The Court will not repeat its prior analysis here. However, both sides

argue that the recent Fifth Circuit opinion Veasey v. Abbott, 888 F.3d 792 (5th Cir. 2018)

supports their position on mootness. Veasey was in a different procedural posture and does not

control this case. But because Defendants and the United States also rely on Veasey to argue

that § 3(c) relief is foreclosed, the Court will examine Veasey in detail.

       Veasey v. Abbott concerned Texas’s voter ID law. The State enacted SB14 in 2011,

generally requiring voters to present one of five forms of government-issued identification in

                                                 4
 Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 5 of 27




order to vote. A group of plaintiffs (Marc Veasey et al.) challenged SB14 as intentionally

racially discriminatory, and the district court permanently enjoined its implementation, finding

both that it had unlawful effects under the “effects test” of § 2 of the VRA and because Texas

enacted SB14 at least in part because of its adverse effect on minority voters. Veasey, 888 F.3d

at 796 (citing Veasey v. Perry, 71 F. Supp. 3d 627, 694 (S.D. Tex. 2014)). On appeal, the Fifth

Circuit affirmed the finding that SB14 had an unlawful disparate impact (sustaining the § 2

VRA effects claim) but reversed the discriminatory purpose determination, finding that the

district court improperly relied on certain facts. The Fifth Circuit remanded for further

proceedings, including a redetermination of the discriminatory purpose issue and entry of an

interim remedy before the 2016 elections.

        In August 2016, the district court entered an interim remedy agreed to by all parties,

following the Fifth Circuit’s direction to “honor the State’s policy preferences to implement a

photo-ID system.” Id. Under the interim remedy, voters who lacked an SB14 ID could cast a

regular ballot upon completing a Declaration of Reasonable Impediment and presenting a

specified form of identification. Id. The interim remedy was used for the November 2016

election and remained in place pending further order of the court, with the understanding that

all parties preserved their right to seek or oppose further relief. Id. at 796-97.

        In February and March 2017, the Texas Legislature informed the district court about

legislation being considered during the 2017 session “to adjust SB 14 to comply with the Fifth

Circuit’s decision.” Id. at 797. However, the district court proceeded to issue an opinion on the

SB14 discriminatory purpose claim on April 1, 2017, again finding that SB14 was enacted, at




                                                  5
 Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 6 of 27




least in part, for a racially discriminatory purpose. SB5 was then enacted on May 31, 2017 as a

legislative remedy to cure and replace SB14, and was fashioned after the interim remedy.

       Texas moved for reconsideration of the district court’s discriminatory purpose finding

in light of the amendment, and the plaintiffs never sought leave to amend their Complaint to

add claims specifically challenging SB5. Id. at 797-98. The district court denied Texas’s

motion, and entered a remedial order permanently enjoining SB14 and SB5, vacating the

interim remedy, and reinstating the pre-SB14 law that lacked any voter ID requirement. It held

that the interim remedy was limited to addressing the VRA § 2 effects claim, and in light of its

finding of discriminatory purpose, the interim relief was no longer appropriate and broader

relief was warranted. Further, although it did not find that SB5 violated § 2 of the VRA, it

reasoned that its finding of discriminatory intent warranted a wholesale injunction because

SB5 was built upon the architecture of SB14. The district court then ordered commencement

of a § 3(c) bail-in hearing and issued broad relief enjoining the State from enforcing SB14 and

SB5. Id. at 798.

       On appeal, Texas argued that the case had become moot by the passage of SB5 in

2017, requiring vacatur of the court’s finding of intentional discrimination on remand. The

Fifth Circuit rejected the mootness argument. Although it recognized that ordinarily a statute

would become moot by the passage of a superseding law and a prior ruling would be vacated,

it noted that the case was not “archetypal.” Id. at 799. Instead, the Fifth Circuit had remanded

to the district court with instructions to assume the “unwelcome obligation” of devising an

interim remedy to eliminate the § 2 violations, reconsider the discriminatory purpose finding

without the facts the appellate court held inapposite, and be mindful that any new law

                                               6
 Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 7 of 27




subsequently passed would present new circumstances. Id. The Fifth Circuit noted that the

posture was similar to Mississippi State Chapter, Operation PUSH, Inc. v. Mabus, 932 F.2d

400 (5th Cir. 1991), in which the court evaluated both the liability findings and the new law,

and there was no suggestion of mootness arising from the passage of the responsive

legislation, which was analyzed for its effectiveness as a proposed remedy. The Fifth Circuit

recognized that the issues on appeal in Veasey were “the status of the state’s liability for

intentional discrimination against indigent minority voters, and whether the district court

abused its discretion in rejecting SB5 as a remedy for the Plaintiffs’ claims.” Id.

       Plaintiffs in this case assert that the Fifth Circuit’s holding that issues concerning

liability regarding SB14 were not mooted by the passage of SB5 in Veasey supports a finding

that their claims against the 2011 plans were not mooted by the passage of the 2013 plans.

Defendants argue that language in the opinion concerning the typical effect of a new law—

mooting claims against the old law and vacating prior opinions—supports a mootness finding.

But as noted, Veasey was in a different procedural posture from this case. The district court

had made final liability determinations shortly before the passage of the new law, and the

district court was therefore already at the remedy stage when the new law was passed. The

principal issue was the State’s continuing liability based on those final liability findings

concerning SB14, and whether the new law (SB5) was an appropriate remedy.

       In contrast, although this Court had made some preliminary determinations on liability,

it had not made final determinations at the time the 2013 plans were enacted, and this case was

not at the remedy phase. Thus, Veasey does not directly support Plaintiffs’ position that their

2011 plan claims were not moot, though the Fifth Circuit did not dismiss the claims against

                                                7
 Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 8 of 27




SB14 and vacate the district court’s findings on liability based on the passage of SB5, as

suggested by Judge Higginbotham’s concurrence. But Veasey’s general language on mootness

does not undermine this Court’s conclusion that the 2011 plan claims were never mooted, as

Defendants argue, given the particular posture and claims presented here. Like Veasey, this is

also not the “archetypal” case, and the 2011 plan claims are not moot for the reasons this

Court has explained in prior orders.

        That this is so is further supported by the Supreme Court’s decision in Abbott v. Perez,

even though the Supreme Court expressed no direct opinion on the mootness issue. See Abbott

v. Perez, 138 S. Ct. 2305, 2317 & n.8 (2018) (noting that this Court reasoned that the repeal of

the 2011 plans represented the “voluntary cessation” of allegedly unconstitutional conduct,

and stating, “We express no view on the correctness of this holding.”).3 After the 2013 plans

were enacted, the claims before the Court included claims that the Texas Legislature

intentionally maintained the discriminatory aspects of the 2011 plans when it enacted the 2013

plans (as well as an additional claim by the Texas Latino Redistricting Task Force that the

Legislature violated the Fourteenth Amendment when it racially gerrymandered the changes to

HD90 in 2013 (the Shaw-type claim)). Resolution of the discriminatory purpose claims

required the Court to determine the ways in which the Legislature purposefully discriminated

in 2011 as well as the ways in which the Legislature did so in 2013. See Abbott, 138 S. Ct. at

2327 (“[B]oth the intent of the 2011 Legislature and the court’s adoption of the interim plans

are relevant to the extent that they naturally give rise to—or tend to refute—inferences


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          Although the Supreme Court later referred to the 2011 plans as “moot plans” in a footnote, 138 S. Ct.
at 2328 n.22, that reference does not mean that the Court believed the claims against those plans were moot.
Plans can be moot without the claims against those plans being moot.

                                                      8
 Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 9 of 27




regarding the intent of the 2013 Legislature.”). Thus, the discriminatory intent of the

Legislature in 2011 was necessarily examined.

       Upon examination, this Court found that the Texas Legislature intentionally

discriminated in 2011 in numerous and significant ways. The Court then found that the

Legislature intentionally maintained the racially discriminatory aspects of the 2011 Texas

House and Congressional plans when it enacted the interim plans in 2013, and that its true

purpose in enacting the plans was not to comply with the VRA but to insulate itself from

further liability for the discriminatory aspects of the plans, including potential bail-in relief.

Though the Supreme Court reversed this Court’s holding that the Legislature intentionally

discriminated in 2013, it never addressed or in any way called into question this Court’s

findings as to the Legislature’s discriminatory purpose in enacting the 2011 plans. Whether the

Legislature violated the Fourteenth Amendment by intentionally discriminating against

minority voters in 2011 has always remained a central issue of this litigation. Having found

that it did, as required by the circumstances of this litigation, the Court must now determine

whether bail-in relief is appropriate based on those findings.

   B. Whether bail-in relief requires a final determination with accompanying relief?

       Defendants further contend that Plaintiffs may not obtain bail-in relief because it is

only a supplemental remedy and may not be imposed until a plaintiff prevails on a live claim.

Relatedly, they argue that the Court cannot find that “violations of the fourteenth or fifteenth

amendment . . . have occurred” as a result of the 2011 plans because they were never used and

Plaintiffs were never injured by them. Docket no. 1612 at 8-9. The Court rejects these

arguments.

                                                9
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 10 of 27




        The language of § 3(c) states that the Court may provide bail-in “in addition to such

relief as it may grant.” This Court has granted Plaintiffs relief in the form of an injunction

against the use of the 2011 plans4 and the issuance of interim remedy plans.5 Thus, bail-in

relief would be “in addition to such relief.” Moreover, no court has held that bail-in relief may

be awarded only upon a final judgment on a claim presented in the case accompanied by an

award of final equitable relief on that claim. In its prior briefing on the application of § 3(c) in

this case, the United States stated that “[n]othing in the statute’s text supports Texas’s

argument that Section 3(c) relief can be imposed only after a final judgment of intentional

discrimination” and “[s]o long as ‘the court finds that violations of the fourteenth or fifteenth

amendment justifying equitable relief have occurred,’ the court can impose relief under

Section 3(c).” Docket no. 827 at 5 n.4. In the leading case on bail-in relief, Jeffers v. Clinton,

740 F. Supp. 585 (E.D. Ark. 1990), the court held that the plaintiffs failed to establish that the

1981 Arkansas reapportionment plan was motivated by a racially discriminatory purpose, but

it nevertheless considered and found other constitutional violations that justified a limited

preclearance remedy.

        Further, the scope of § 3(c) indicates that a court may find that violations of the

fourteenth amendment occur when the Legislature enacts plans in violation of those

amendments, regardless of whether they are never implemented because plaintiffs successfully

obtain preliminary or interim relief and the Legislature then voluntarily amends the plans.

Surely it contemplates situations in which the court enjoins a challenged law from ever taking

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          The Court enjoined the use of Plan H283 and Plan C185 and the parties “agreed that the relief . . .
[would] be effective as a permanent injunction.” Docket no. 380.
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            Docket no. 681 (Plan C235) and docket no. 682 (Plan H309).

                                                      10
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 11 of 27




effect because it violates voting rights guaranteed by the Constitution and then issues

additional bail-in relief to prevent future attempts to circumvent those same voting rights.

Courts need not permit elections to proceed under an unconstitutional and discriminatory plan

to award bail-in relief.

        The remaining arguments center on whether the facts of this case justify the

extraordinary remedy of bail-in, including specifically whether the necessary pre-conditions

exist in terms of what types of violations (and by whom) count as triggers and whether they

are significant enough to justify bail-in. Thus, the Court now turns to its analysis of whether

bail-in relief can and should be awarded in this case.

                        III. Merits Analysis of Request for Bail-in Relief

        The most thorough analysis and discussion in the case law of § 3(c) and its

requirements remains Jeffers v. Clinton, 740 F. Supp. 585 (E.D. Ark. 1990), which imposed

bail-in relief on the State of Arkansas.6 There, the district court framed the inquiry as (1)

whether violations of the Fourteenth or Fifteenth Amendments justifying equitable relief have

occurred within the State or its political subdivisions, and (2) whether, if so, the remedy of

preclearance should be imposed. The Court will apply this same general framework.

    A. Whether violations of the Fourteenth or Fifteenth Amendments justifying equitable
       relief have occurred within the State or its political subdivisions?

        To trigger bail-in, § 3(c) requires that (a) violations of the Fourteenth or Fifteenth

Amendments (b) justifying equitable relief (c) have occurred (d) within the State or its

political subdivisions. 52 U.S.C. § 10302(c). The Court first considers what types of violations

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           Two recent cases have addressed § 3(c), but neither expended much analysis in deciding to impose
relief, Patiño v. City of Pasadena, 230 F. Supp. 3d 667 (S.D. Tex. 2017), or reject it, North Carolina State
Conference of NAACP v. McCrory, 831 F.3d 204 (4th Cir. 2016).

                                                    11
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 12 of 27




of the Fourteenth of Fifteenth Amendments may act as a trigger to impose bail-in relief upon

the State of Texas as requested. This inquiry requires us to decide (1) whether Shaw-type

violations or other Fourteenth Amendment violations aside from those requiring intentional

racial animus may be considered, (2) whether this Court’s findings of intentional racial voting

discrimination in 2011 may be a trigger, (3) whether Texas’s constitutional violations in

addition to those made the subject of this suit may be a trigger, (4) the extent to which

violations by political subdivisions inside Texas may be considered; and (5) the extent to

which DOJ preclearance objections may be considered.

        1. Shaw-type violations in HD90 in 2013 and other Fourteenth Amendment violations
           that lack a finding of intentional racial discrimination

        The Task Force Plaintiffs and Defendants contest whether the Shaw-type racial

gerrymandering found in HD90 in the 2013 plans could trigger bail-in as a “violation of the

voting guarantees of the Fourteenth Amendment,” or whether bail-in relief must be limited to

violations based on findings of invidious racially discriminatory purpose.7 The Task Force

notes that the statutory language “is not limited.” Both types of claims are based on violations

of the Fourteenth Amendment, but a Shaw-type claim does not require a racially

discriminatory purpose; it requires only an improper focus on race, regardless of

discriminatory motive.

        The Jeffers court concluded that the statute imposes a requirement of proof of

conscious racial discrimination, with a preponderance of the evidence burden of proof. Jeffers,


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          No court seems to have directly considered this question, and a law review note poses it as an open
question. Travis Crum, The Voting Rights Act’s Secret Weapon: Pocket Trigger Litigation and Dynamic
Preclearance, 119 YALE L.J. 1992, 2035 (June 2010).


                                                     12
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 13 of 27




740 F. Supp. at 589. And the United States has consistently asserted that a finding of a

violation of the voting guarantees of the Fourteenth Amendment requires a finding of

intentional voting discrimination. See docket no. 827 at 3. The Court agrees, and concludes

that triggering violations for bail-in relief must be violations of Fourteenth and Fifteenth

Amendment protections against intentional racial discrimination in voting. Thus, a Shaw-type

Fourteenth Amendment claim, without a finding of racially discriminatory purpose, is not a

finding that supports bail-in relief. Unlike an intentional vote dilution claim, a Shaw-type

racial gerrymandering claim is not focused on abridging the right to vote, but on an improper

use of race regardless of discriminatory purpose, and § 3(c) aims to remedy voting changes

that have the purpose and effect “of denying or abridging the right to vote on account of race

or color.” 52 U.S.C. § 10302(c).8 Because the violation found in HD90 in 2013 was a racial

gerrymander without an accompanying finding of intentional discrimination, it will not trigger

bail-in relief.

        The Court also rejects a conclusion that malapportionment and/or one person, one vote

(“Larios-type claims”) under the Fourteenth Amendment may trigger bail-in relief, absent any

finding of purposeful racial discrimination underlying the population deviations. See

Blackmoon v. Charles Mix Cty., 505 F. Supp. 2d 585, 592 (D.S.D. 2007) (finding

malapportionment Fourteenth Amendment claim insufficient to trigger bail-in relief because

without establishing racial discrimination, it would be “nonsensical” to require the State to

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            The Court is further persuaded by Defendants’ argument that a Shaw-type voting claim was not yet
recognized by the Supreme Court when § 3(c) was enacted. Docket no. 1612 at 15 (noting that the Supreme Court
first recognized Shaw-type racial gerrymandering claims in 1993 in Shaw v. Reno, 509 U.S. 630 (1993), and thus
Congress did not have those claims in mind when it enacted and amended the § 3 remedial provisions of the
VRA).


                                                     13
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 14 of 27




prove that any future change “does not have the purpose and will not have the effect of

denying or abridging the right to vote on account of race or color or [language group]”).

       Similarly, Shaw-type violations and § 2 violations found in Texas’s past apportionment

plans are insufficient bases for bail-in relief. Thus, although Texas has been found to have

violated § 2 and committed Shaw-type violations of the Fourteenth Amendment in more recent

districting cycles, those will not trigger bail-in relief. Although the Supreme Court noted in

2006 that Texas’s actions with regard to congressional district 23 bore “the mark of intentional

discrimination,” the Court did not make affirmative findings of a Fourteenth Amendment

violation, instead resting its holding on a § 2 effects claim. LULAC v. Perry, 548 U.S. 399,

440 (2006).

       2. this Court’s findings of intentional voting discrimination in the 2011 plans

       The Court thus turns to whether an award of bail-in relief can be triggered by its

findings of intentional discrimination with regard to the 2011 plans. This Court found that

Texas’s 2011 Congressional and State House plans were both motivated by racially

discriminatory purpose. Docket no. 1390 (Order on Plan C185); docket no. 1340 (Fact

Findings for Order on Plan C185); docket no. 1365 (Order on Plan H283); docket no. 1364

(Fact Findings for Order on Plan H283).

       With regard to the Texas House Plan, Plan H283, the Court found that the overall plan

was the product of intentional vote dilution and that it was based on “invidious discriminatory

purpose.” Docket no. 1365 at 83 (“The Court agrees that the overall configuration of Plan

H283 is the product of intentional vote dilution” and “[t]he impact of the plan was certainly to

reduce minority voting opportunity statewide, resulting in even less proportional

                                               14
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 15 of 27




representation for minority voters.”), id. at 84 (“[T]he Court finds invidious discriminatory

purpose underlies Plan H283.”). The Court further found that districts in many counties across

Texas were the product of intentional discrimination/intentional vote dilution, including El

Paso County, id. at 27-28 (“the Court finds that mapdrawers intentionally diluted the Latino

vote in violation of § 2 of the VRA and the Fourteenth Amendment with regard to HD78”);

Bexar County, id. at 32 (“the Court finds that mapdrawers intentionally diluted the Latino vote

in HD117 in violation of § 2 and the Fourteenth Amendment”); Nueces County, id. at 38-40

(mapdrawers intentionally eliminated HD33 in Nueces County and “offset” the loss of a

Latino opportunity district by unnecessarily inflating the SSVR of an already performing

district in Harris County, thus intentionally diluting Latino voting opportunity and also

intentionally racially gerrymandered the remaining Nueces County districts to further

undermine Latino voting strength); Hidalgo County, id. at 43 (“the Court finds that HD41 was

drawn in part with racially discriminatory (dilutive) motive” and that “mapdrawers

intentionally used race to draw the district to perform less favorably for Latinos” such that “the

configuration of HD41 is racially discriminatory and constitutes intentional vote dilution in

violation of § 2 and the Fourteenth Amendment”); Harris County, id. at 56 (“The Court finds

that there is persuasive evidence of intentional vote dilution in Harris County.”); Dallas

County, id. at 66-67 (“The Court does find . . . that Plaintiffs have proven an improper use of

race in western Dallas County to dilute Latino voting strength” and “intentional vote dilution

in Dallas County violates § 2 and the Fourteenth Amendment.”); Tarrant County, id. at 71

(“The Court finds that mapdrawers acted with racially discriminatory intent to dilute Latino

voting strength in Tarrant County.”); and Bell County, id. at 78 (“The Court thus finds

                                               15
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 16 of 27




evidence of intentional vote dilution in Bell County in violation of § 2 of the VRA and the

Fourteenth Amendment.”).

       In the Opinion on Plan C185, this Court found that in CD23 the State intentionally split

the large Hispanic county of Maverick County and the City of Eagle Pass to exclude

politically active Hispanics who would not support the Republican incumbent, while adding in

all or parts of more Anglo counties, but nevertheless taking care to maintain SSVR and

HCVAP levels above 50%. These actions were designed to maintain theoretical opportunity

while simultaneously manipulating district population to decrease its potential effectiveness

for Latinos. Docket no. 1390 at 20. Mapdrawers manipulated Latino cohesion and turnout to

pursue the “nudge factor” proposal and create the façade of a Latino opportunity district. Id. at

20-23. It was undisputed that Latino performance in CD23 decreased, and the Court found that

CD23 was purposefully racially discriminatory. Id. at 23, 28-29.

       In the Dallas-Fort Worth metroplex, the Court found that “race was used as a proxy for

political affiliation, and that this was done intentionally to dilute minority voting strength.”

Docket no. 1390 at 131. Specifically, mapdrawers intentionally wasted minority (and therefore

presumed Democrat) votes in CD30 by packing, while increasing Anglo (and therefore

presumed Republican) voting strength in neighboring districts, and they further intentionally

cracked minority population in the metroplex to limit minority population within the

Republican districts to curb the effect of continued minority growth throughout the decade. Id.

at 131-33. The Court found persuasive evidence that mapdrawers intentionally “packed and

cracked” on the basis of race with the intent to dilute minority voting strength, and thus acted

with intentionally racially discriminatory purpose. Id. at 134.

                                                16
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 17 of 27




       The Court concludes that these findings of “violations of the Fourteenth Amendment”

do qualify as triggers for § 3(c) bail-in relief. These are recent findings of purposeful racial

discrimination by the State affecting significant numbers of minority voters statewide.

       3. findings of intentional discrimination in the Veasey voter ID litigation and whether
          Veasey precludes an award of bail-in in this case

       The next issue is whether the district court’s recent findings of intentional

discrimination in the Veasey voter ID litigation may also be considered, and whether the

holding in Veasey itself precludes bail-in relief in this case. On remand, the district court in

Veasey found that Texas purposefully discriminated when it enacted the first voter ID bill (SB

14) in 2011. This finding was not disturbed on the second appeal. Rather, the Fifth Circuit held

only that “because SB 5 constitutes an effective remedy for the only deficiencies testified to in

SB 14, and it essentially mirrors an agreed interim order for the same purpose, the State has

acted promptly following this Court’s mandate, and there is no equitable basis for subjecting

Texas to ongoing federal election scrutiny under Section 3(c).” Veasey, 888 F.3d at 804.

       Contrary to Defendants’ and the United States’ assertions, the Fifth Circuit did not

reject bail-in relief solely because the State acted promptly to enact the remedy plan that

mirrored the interim relief, nor did it hold that any time the State does so, bail-in relief is

precluded. Rather, the Fifth Circuit found bail-in relief inappropriate because the district court

had ordered relief that was too broad and untailored. The Fifth Circuit expressly noted that the

relief ordered “far exceed[ed] the scope of the actual violations found by the court” and that

“under the circumstances of th[e] case, the court had no legal or factual basis to invalidate SB

5, and its contemplation of Section 3(c) relief accordingly fail[ed] as well.” Id. at 801. Those

circumstances included that “SB 14 was racially discriminatory against only the subset of
                                               17
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 18 of 27




indigent minority voters and did not affect the vast majority of Texas voters of all races,” and

that courts “are bound by the requirement to tailor injunctive relief.” Id. The Court emphasized

that “relief must be tailored” more than once. Id. at 800. Thus, the district court found

discriminatory intent, but it affected only a small subset of minority voters rather than the vast

majority of Texas minority voters. In addition, the Fifth Circuit found no evidence of any

continuing discriminatory effect on minority voters, rendering potential bail-in relief an

untailored, overly broad remedy.

        This case, in contrast, involves findings of intentionally discriminatory behavior

affecting minority voters statewide rather than the subset of indigent minority voters.

Numerous counties were drawn with the purpose to dilute minority voting strength in the

Texas House plan, as well as CD23 and numerous congressional districts in the Dallas-Fort

Worth metroplex in the Congressional plan. Though the Supreme Court may have found no

discriminatory purpose in 2013, it did not undermine the findings of purposeful discrimination

in 2011. These recent, statewide violations of the Fourteenth Amendment by the State are the

type to appropriately trigger the bail-in remedy against the State, and the bail-in remedy

sought by Plaintiffs would appropriately redress the violation. Thus, Veasey does not foreclose

bail-in relief in the circumstances of this case.

        The United States further asserts that, because the discrimination findings in Veasey

could not support bail-in relief in that case, they cannot be used to support it in this case. The

Court disagrees. Nothing in Veasey precludes consideration of the district court’s findings of

intentional discrimination as support for application of § 3(c) relief in this case. The

discrimination finding in Veasey was insufficient to support 3(c) relief in that case because of

                                                    18
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 19 of 27




its limited effect, but that purposeful discrimination may nevertheless be considered by this

Court in deciding whether to award bail-in relief in this case. Although this Court would find it

a stretch to award bail-in relief based solely on violations found in other cases, as the Jeffers

court did, consideration of the Veasey court’s findings of intentional discrimination in the

second step of the bail-in analysis is certainly appropriate.

        4. recent findings of intentional discrimination by political subdivisions

        Plaintiffs also urge the Court to consider Patiño v. City of Pasadena, 230 F. Supp. 3d

667, 729 (S.D. Tex. 2017), a recent case finding intentional discrimination and imposing

preclearance on the City of Pasadena, Texas. On the issue of whether other constitutional

violations could be considered as triggers, including those by political subdivisions, the Jeffers

court held that the phrase “violations of the fourteenth or fifteenth amendment justifying

equitable relief” is “not limited at all,” such that if the plaintiffs succeeded in showing other

constitutional violations besides those alleged in their attack on the apportionment plan made

the basis of the suit, preclearance would not be ruled out if the violations were sufficiently

serious and widespread to justify the drastic remedy of preclearance. Jeffers, 740 F. Supp. at

592. It further held that the statute does not require “that the State or its officials must be guilty

of the violations, but only that the violations must ‘have occurred within the territory’ of the

State.” Id. at 600 (emphasis in original). Thus, it approved consideration of both state and local

government violations. Id.

        However, the Court finds that these violations should at most provide relevant context

to the second step of the bail-in analysis, and not be used as a trigger for bail-in relief. The

State was not a party to the discrimination or the litigation in Patiño. The reference to finding

                                                 19
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 20 of 27




violations “within the territory of such State or political subdivision” refers back to the initial

clause of § 3(c), which provides that relief is available “in any proceeding . . . to enforce the

voting guarantees of the fourteenth or fifteenth amendment in any State or political

subdivision.” 52 U.S.C. 10302. Thus, it simply makes clear that political subdivisions such as

cities may be subjected to § 3(c) relief based on their own violations, and does not mean that a

State may be subjected to bail-in based on violations by its political subdivisions.

        5. objections to preclearance by the Department of Justice in § 5 proceedings

        The fact that the Department of Justice has lodged numerous § 5 objections against

Texas’s redistricting plans over the years does not establish that violations of the Fourteenth or

Fifteenth Amendment have occurred. A jurisdiction seeking preclearance must prove that its

proposed voting change has neither the purpose nor the effect of denying or abridging the right

to vote on account of race or color. The jurisdiction bears the burden of persuasion on both

points. Reno v. Bossier Parish Sch. Bd. (Bossier II), 528 U.S. 320, 328 (2000). A mere finding

of discriminatory effect or “retrogression” does not amount to a constitutional violation, which

requires an additional showing of discriminatory intent. And an objection based on

discriminatory purpose shows only that the State failed to carry its burden of proof in the

preclearance proceedings.9 Such an objection does not demonstrate that a state actually

engaged in any intentional discrimination in violation of the Fourteenth Amendment under the

traditional burden of proof. See Perez, 138 S. Ct. at 2330 n.25 (citations omitted) (“In

assessing the significance of the D.C. court’s evaluation of intent, it is important not to forget


        9
           In 2006, Congress amended § 5 to include “any discriminatory purpose.” The Supreme Court had
previously construed § 5 as extending only to retrogressive intent, and not discriminatory intent generally. Reno
v. Bossier Parish Sch. Bd. (Bossier II), 528 U.S. 320, 329 (2000); Beer v. United States, 425 U.S. 130 (1976).

                                                       20
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 21 of 27




that the burden of proof in a preclearance proceeding was on the State. Particularly where race

and partisanship can so often be confused, . . . the burden of proof may be crucial.”).

       6. the Court finds sufficient violations to potentially trigger bail-in.

   The Court has found violations of the Fourteenth Amendment with regard to the 2011

plans, and concludes that these findings are sufficient to trigger bail-in as a potential remedy.

The Court now considers whether it will order such relief.

   B. Whether the remedy of preclearance should be imposed.

       The Jeffers court noted that the statute does not simply require “violations” of the

Fourteenth Amendment, but “violations justifying equitable relief.” Jeffers, 740 F. Supp. at

601. Moreover, a finding that violations have occurred does not automatically mean that bail-

in relief should be imposed; rather, whether it should be imposed is governed by traditional

principles of equitable discretion. Id. The Jeffers court listed six, non-exhaustive, relevant

factors for courts to consider in exercising their discretion, including: “Have the violations

been persistent and repeated? Are they recent or distant in time? Are they the kinds of

violations that would likely be prevented, in the future, by preclearance? Have they already

been remedied by judicial decree or otherwise? How likely are they to recur? Do political

developments, independent of this litigation, make recurrence more or less likely?” Id. These

factors remain relevant today and have been considered by the Court. But the Court must also

consider the Supreme Court’s and Fifth Circuit’s recent guidance on preclearance.

       The Supreme Court first upheld the constitutionality of § 5 in South Carolina v.

Katzenbach, 383 U.S. 301 (1966). The Court noted that the VRA “create[d] stringent new

remedies for voting discrimination where it persists on a pervasive scale, and in addition the

                                                21
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 22 of 27




statute strengthens existing remedies for pockets of voting discrimination elsewhere in the

country.” Id. at 308. The legislative history revealed that “Congress felt itself confronted by an

insidious and pervasive evil which had been perpetuated in certain parts of our country

through unremitting and ingenious defiance of the Constitution,” and Congress concluded that

“sterner and more elaborate measures” were necessary to uphold voting rights because case-

by-case litigation against voting discrimination had proved insufficient. Id. at 309.

       In 2009, the Supreme Court questioned the ongoing constitutionality of § 5 and its

coverage formula after its reauthorization in 2006 in Northwest Austin Municipal Utility

District Number One v. Holder, 557 U.S. 193 (2009), but did not decide the issue. In that

opinion, the Court noted that the VRA had achieved historic accomplishments, but recognized

that § 5 imposes substantial federalism costs. Id. at 202-03.

       In Shelby County v. Holder, the Supreme Court invalidated the coverage formula in § 4

of the VRA, but left § 5 and the § 3 remedies, including bail-in, intact. But in doing so, the

Court stressed that § 5’s requirement for “[s]tates to obtain federal permission before enacting

any law related to voting” was “a drastic departure from basic principles of federalism,” and

burdens imposed by the Act must be justified by current needs. Shelby County, 570 U.S. at

535, 542. “The Federal Government does not . . . have a general right to review and veto state

enactments before they go into effect.” Id. at 542.

       Highlighting that “federalism secures to citizens the liberties that derive from the

diffusion of sovereign power” the Court emphasized that “the Framers of the Constitution

intended the States to keep for themselves . . . the power to regulate elections.” Id. at 543

(internal quotation marks and citations omitted). “Drawing lines for congressional districts is .

                                                22
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 23 of 27




. . ‘primarily the duty and responsibility of the State.’” Id. at 543. Because the imposition of

preclearance results in a system where “one State waits months or years and expends funds to

implement a validly enacted law,” while “its neighbor can typically put the same law into

effect immediately, through the normal legislative process,” and further applies substantive

standards quite different from those governing states not subject to preclearance, such “strong

medicine” can only be justified in exceptional circumstances. Id. at 544–45, 535. Importantly

for our purposes, although the Supreme Court did not invalidate § 5 in Shelby County, it noted

that arguments that the preclearance requirement was unconstitutional have “a good deal of

force,” given the improvements in minority voter turnout, registration, and office-holder rates,

the rarity of blatantly discriminatory evasions of federal decrees, and the fact that

discriminatory tests and devices had been banned for over 40 years. Id. at 547.

        In the wake of Shelby County, courts have been hesitant to grant § 3(c) relief. For

example, in North Carolina State Conference of NAACP v. McCrory, 831 F.3d 204 (4th Cir.

2016), the Fourth Circuit declined the plaintiffs’ request for § 3(c) relief, despite concluding

that “that the North Carolina General Assembly enacted the challenged provisions of the

[election] law with discriminatory intent” targeting African Americans in numerous ways,10 in

violation of the Fourteenth Amendment. Id. at 215, 219. Without much analysis, the Court

explained that “[s]uch remedies are rarely used” and were “not necessary” in light of the

court’s injunction against North Carolina’s omnibus election reform law. Id. at 241. The Court

cited Conway School District v. Whilhoit, 854 F. Supp. 1430 (E.D. Ark. 1994), which noted



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             These included photo ID, early voting, same-day registration, out-of-precinct voting, and
preregistration.

                                                 23
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 24 of 27




that “[t]he preclearance remedy is rarely used, only being utilized in such a ‘systematic and

deliberate’ case as Jeffers.” Id. at 1442.

        Moreover, although this Court has concluded that Veasey does not automatically

preclude imposition of bail-in relief, Veasey also counsels strongly against its imposition here.

The Supreme Court overturned this Court’s findings of discriminatory intent with regard to the

2013 plans. Thus, as in Veasey, there are no findings of discriminatory intent or Fourteenth

Amendment violations concerning the plan currently in place. The Supreme Court also held

that the 2013 Legislature did not “use criteria that arguably carried forward the effects of any

discriminatory intent on the part of the 2011 Legislature,” and essentially found the current

plans to be free of constitutional infirmities. Abbott v. Perez, 138 S. Ct. 2305, 2325 (2018).

Although this Court may disagree about the lingering effects of discrimination from the 2011

plans, the clear import of the Supreme Court’s opinion is that nothing further remains to be

remedied, and this Court is bound to follow that opinion. In addition to considering whether

any infirmities remain, Veasey further instructs this Court to consider that the State acted

promptly to adopt the interim plans to remedy any potential violations.

        Although the Court concluded above that it could and should also consider the

intentional discrimination findings made in the underlying voter ID litigation itself, it does

little to bolster the foundation for bail-in. While this was another recent act of intentional

discrimination by the State, as the Veasey court noted, it affected only a small portion of

minority voters (indigent minority voters), and there was no indication that its effects had not

been fully remedied. Thus, the Court finds an insufficient basis upon which to award the

requested bail-in relief.

                                               24
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 25 of 27




         To be clear, however, the Court has grave concerns about Texas’s past conduct. During

the 2011 legislative session, Texas engaged in traditional means of vote dilution such as

cracking and packing in drawing districts, and also utilized newer methods of dilution and

suppression such as using the “nudge factor” and passing voter ID requirements.

         The existence of high levels of racially polarized voting across Texas cannot be

disputed,11 nor is there any indication that the levels of racially polarized voting are

decreasing. This Court and others have recognized that “the presence of racially polarized

voting provides a strong incentive for intentional discrimination, commonly through vote

dilution….” Docket no. 1390 at 120 (quoting N.C. State Conf. of NAACP v. McCrory, 831

F.3d 204, 214, 222 (4th Cir. 2016)).

         In addition to racially polarized voting, it is undisputed that minority population levels

are markedly increasing, and “restrictive and discriminatory voting laws have typically been

enacted (by both political parties) in response to a perception of increased voting power by

emerging demographic groups.” Docket no. 1390 at 141. Given the fact of changing

population demographics, the likelihood increases that the Texas Legislature will continue to

find ways to attempt to engage in “ingenious defiance of the Constitution”12 that necessitated

the preclearance system in the first place.13 At the hearing on § 3(c) relief, counsel for the


         11
           As this Court noted, Defendants did not dispute that people of different races vote differently from one
another, and that minorities tend to vote Democrat while Anglos generally tend to vote Republican. Docket no.
1390 at 120 n.104.
         12
              So. Carolina v. Katzenbach, 383 U.S. 301, 309 (1966).
         13
           For example, the State recently engaged in the dubious voter-purge, sending a list of approximately
95,000 registered voters to counties advising them to investigate their citizenship and eligibility to vote. Texas
LULAC v. Whitley, SA-19-CV-74. Out of 98,000 new American voters on the list, the Secretary of State almost
immediately recognized that 25,000 names should not have been included, and by February 27 only

                                                        25
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 26 of 27




State was asked whether the State would commit to conduct future redistricting proceedings

by a fair and open process. Counsel responded that to answer the question, he needed to know

how those terms are defined before committing to a specific process. 14 That response is

disappointing.      Irrespective of whether an employee of the State’s executive branch is

empowered, in open court, to commit the Legislature to a particular process, we warn that,

given the record produced in 2011, the State must implement a process that, by any reasonable

definition, is “fair and open”.

         Nevertheless, the Court concludes that ordering preclearance on the current record

would be inappropriate, given the recent guidance from the Supreme Court and the Fifth

Circuit. It is time for this round of litigation to close. Abbott, 138 S. Ct. at 2327 (“There is thus

no need for any further prolongation of this already protracted litigation.”).

         Even without being subject to preclearance, Texas must still comply with the

requirements of the Fourteenth Amendment and § 2 of the VRA in the upcoming redistricting

approximately 80 had been identified as being ineligible to vote. This case was recently settled, and thus there are
no final determinations concerning whether this voter purge was motivated at least in part by purposeful racial
discrimination.
14
   [JUDGE RODRIGUEZ]: Will the state of Texas stipulate that this next go-around after the census data is
released that you will have full, fair, transparent public hearings after the census data is released and that there
will be full, fair, transparent hearings held with maps visible for the public to see and actual hearings as opposed
to what took place in 2011 with votes held in public with ample notice. Will the state agree to all that?
          MR. FREDERICK: I couldn't even begin to consider it until I knew exactly what full, fair, and open
meant. . . .
          [JUDGE RODRIGUEZ]: No, no. And so what I mean by the process is what didn't take place the last
time around. We didn't have hearings. We had hearings before a census map was released -- census data was
released. So that was of no value to anybody. And then when hearings did take place, they were held in unusual
locations with last-minute notices on holidays. So, you know, that's the kind of behavior the state engaged in last
time, and I'm asking you to stipulate on behalf of the state, if you can so stipulate, that you won't do that again.
And if you can't, then why shouldn't I award 3(c)relief?
          MR. FREDERICK: Two responses. I can't stipulate because I do not -- because the terms are not
defined. I don't know what I would be stipulating to. The reason that that can't support 3(c)relief is doing a bad
job in a complicated process is so far from the necessary level of deliberate constitutional defiance that is
necessary for preclearance that it just doesn't get close ….

Docket no. 1629 (May 10, 2019 hearing transcript).

                                                        26
Case 5:11-cv-00360-OLG-JES-XR Document 1632 Filed 07/24/19 Page 27 of 27




cycle, and undoubtedly its plans will be subject to judicial scrutiny. Texas would be well

advised to conduct its redistricting process openly, with the understanding that consideration

of bail-in is always an option for whatever federal court or courts may be tasked with review

of future legislative actions. On this record and under current law, however, bail-in is denied.

       It is SO ORDERED.

       SIGNED this 24th day of July, 2019 on behalf of the Three-Judge Panel.




                                      XAVIER RODRIGUEZ
                                      UNITED STATES DISTRICT JUDGE




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